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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

JAMES E. CUNNINGHAM, SR.,          :
                                   :
      Plaintiff,                   :
                                   :
v.                                 : CASE NO. 3:21-cv-00273 (SVN)
                                   :
Dr. FRANCESCO LUPIS; NED           :
LAMONT; DEPARTMENT OF              :
CORRECTION;TAWANNA FURTICK;        :
Dr. KENNEDY; COLLEEN GALLAGHER; :
WILLIAM MULLIGAN;KRISTINE BARONE; :
Deputy Warden DORAN; Deputy Warden :
SNYDER; MARY ELLEN CASTRO;         :
KIRSTEN SHEA; ANGEL QUIROS;        :
ROLLIN COOK; APRN BARBARA;         :
RN JOE; FRANK QUERRES;             :
NICOLE ANKER; RUDY ALVAREZ;        :
SAL DIAZ; ROSE WALKER; RIKEL       :
LIGHTNER; CHENA MCPHERSON;         :
Dr. CARSON WRIGHT; Dr. FRESTON;    :
JOHN DOE 1 UConn Pediatrist;       :
MONICA FARINELLA; MERIAM GRANT; :
GARY FRESTON; SAMANTHA             :
LOCKERY; JOHN DOE 2 DOC Habeas     :
Legal Liaison,                     :
                                   :
      Defendants.                  :

                                      JUDGMENT

      This action having come before the Court for consideration of Defendant

McPherson’s motion for summary judgment and Defendants Lupis, Gallagher, and

Alvarez’s motion for summary judgment before the Honorable Sarala V. Nagala, United

States District Judge; and

      The Court having considered the motions and the full record of the case including

applicable principles of law, and having granted the Defendants’ motions as to all
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federal and state claims against the Correctional Defendants and APRN McPherson on

February 26, 2024; and

      The Honorable Jeffrey A. Meyer, United States District Judge, having previously

dismissed Defendants Lamont, Department of Correction, Furtick, Kennedy, Mulligan,

Barone, Doran, Snyder, Castro, Shea, Quiros, Cook, Barbara, Joe, Querres, Anker,

Diaz, Walker, Lightner, Wright, Freston, John Doe 1, Farinella, Grant, Gary Freston,

Lockery, and John Doe 2 on October 6, 2021; it is hereby,

      ORDERED, ADJUDGED, and DECREED that judgment be and is hereby

entered in favor of Defendants Chena McPherson, Francesco Lupis, Colleen Gallagher,

and Rudy Alvarez.

      Dated at Hartford, Connecticut, this 4th day of March, 2024.

                                        DINAH MILTON KINNEY, Clerk

                                        By: /s/ Michael Bozek
                                            Michael Bozek
                                            Deputy Clerk

Entered on Docket: 3/4/2024
